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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

IN RE: DAVOL, INC./C.R. BARD, Case No. 2:18-md-2846

INC., POLYPROPYLENE HERNIA

MESH PRODUCTS LIABILITY

LITIGATION CHIEF JUDGE EDMUND A. SARGUS, JR.
Magistrate Judge Kimberly A. Jolson

This document relates to:
ALL ACTIONS.

CASE MANAGEMENT ORDER NO. 8
Regarding Plaintiff Profile Forms and Defendant Profile Forms

This Court hereby issues the following Case Management Order to govern the form,
procedure, and schedule for the completion and service of Plaintiff Profile Forms (“PPF”),
Defendant Profile Form (“DPF”) and other documents referenced therein.
IL Scope of this Order

This Order applies to all Plaintiffs and their counsel in: (a) all actions transferred to MDL
2846 by the Judicial Panel on Multidistrict Litigation (“JPML”) pursuant to its Order of August 2,
2018, including those cases subsequently transferred as tag-along actions; and (b) all related
actions originally filed in or removed to this Court. The obligation to comply with this CMO and
to provide a PPF shall fall solely to the individual counsel representing a Plaintiff. As with all case-
specific discovery, the members of the PSC or PEC are not obligated to conduct case-specific

discovery for Plaintiffs by whom they have not been individually retained.
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il. Plaintiff Profile Forms
A. The PPF Form and Service

1. Each Plaintiff in an action in MDL 2846 shall complete and serve upon
Defendants via email a completed PPF, the form of which has been agreed to by the parties and
approved by the Court, which is attached hereto as Exhibit A, along with all duly executed
authorizations for the release of relevant medical records, within 60 days after Defendants serve
their Short Form Answer upon a Plaintiff.

z For cases currently on file and served as of November 21, 2018, a completed
PPF, the form of which has been agreed to by the parties and approved by the Court, which is
attached hereto as Exhibit A, along with all duly executed authorizations for the release of relevant
medical records, shall be served on or before December 19, 2018.

3. The completed PPF and the duly executed authorizations shall be served
upon Defendants’ counsel via email at: FederalBardService@ReedSmith.com. A copy of the PPF
shall be sent to the PEC’s designee at bardmdlppf@fleming-law.com.

B. Amendments
Each Plaintiff shall remain under a continuing duty to supplement the information
provided in the PPF.
C. PPF Deficiency Dispute Resolution

1. Phase I; Deficiency Letter

a, If Defendants deem a PPF deficient, Defendants’ counsel shall notify
Plaintiff's attorney of record of the purported deficiencies via email and allow such Plaintiff an
additional 30 days to correct the alleged deficiency. A courtesy copy of the email shall be sent to

the PEC’s designee at bardmdlppf@fleming-law.com.
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b. Defendants shall identify the case name, docket number, the 30 day

deadline date and include sufficient detail regarding the alleged deficiency(ies).

2. Phase Il: Meet and Confer

Should a Plaintiff not respond to the deficiency letter within the time required, then
Defendants may request a meet and confer. Defendants’ counsel shall notify Plaintiff's attorney of
record via email of the request to meet and confer and state that the meet and confer shall occur
within 14 days. A courtesy copy of the email shall be sent to the PEC’s designee at
bardmdlppf@fleming-law.com. The parties’ meet and confer period shall begin upon receipt of
the email by Plaintiffs attorney of record and, absent agreement of the parties, shall be completed

by the conclusion of the 14 days.

3. Phase I: Motion to Compel
a. Following the meet and confer period, should Plaintiff: (i) fail to cure the

stated deficiency(ies); (1i) fail to assert objections to same; (iii) fail to respond to or participate in
the meet and confer process; or (iv) otherwise fail to provide responses, and absent agreement of
the parties to further extend the meet and confer period, at any time following expiration of the
fourteen day meet and confer period, Defendants may then file a Motion to Compel the allegedly
deficient discovery information via ECF, with a courtesy copy sent via email to Plaintiffs attorney
of record and to the PEC’s designee at bardmdlppf@fleming-law.com.

b. Any motion to compel pursuant to this CMO need not be noticed for
presentment as required by Local Rule 7.1.

c. Any response to such a motion shall be filed and served within 14 days
following the date of service. Any reply, if necessary, shall be filed within 7 days following the

date of service of the opposition.
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d. Absent an Order from the Court granting a request by either or both parties
for oral argument, the Court will rule on such motions without hearing argument.

D. Failure to Serve a PPF

1. Each Plaintiff may request one extension of 30 days to serve a completed PPF,
which Defendants shall not unreasonably withhold. Such requests must be made via email to

Defendants’ counsel before the expiration of the deadline, with a courtesy copy sent to the PEC’s
designee at bardmdlppf@fleming-law.com.

2. Phase I: Notice of Non-Compliance
a. Should any Plaintiff fail to serve a PPF within the time required in this

CMO, Defendants shall send a Notice of Non-Compliance letter via email to that Plaintiffs
attorney of record, with a courtesy copy to the PEC’s designee at bardmdlppf@fleming-law.com.

b. Following the receipt of the Notice of Non-Compliance, the Plaintiff shall
have 21 days to serve the PPF.

3. Phase I: Meet and Confer
Should a Plaintiff not respond to the Notice of Non-Compliance within the time
required above, then the Defendants may request a meet and confer, Defendants’ counsel shall
notify Plaintiff's attorney of record via email of the request to meet and confer and state that the
meet and confer shall occur within 14 days. A courtesy copy of the email shall be sent to the PEC’s
designee at bardmdippf@fleming-law.com. The parties’ meet and confer period shall begin upon
receipt of the email by Plaintiff's attorney of record and, absent agreement of the parties, shall be

completed by the conclusion of the 14 days.
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4. Phase III: Motion to Compel

a. Should a Plaintiff fail to provide an executed PPF following the time period
allowed above, Defendants may then move the Court for a motion to compel via ECF, with a

courtesy copy sent via email to Plaintiff's attorney of record and to the PEC’s designee at

bardmd|ppf@fleming-law.com.

b. Any motion to compel pursuant to this CMO need not be noticed for

presentment as required by Local Rule 7.1.

c. Any response to such a motion shall be filed and served within 14 days
following the date of service. Any reply, if necessary, shall be filed within 7 days following the

date of service of the opposition.

d. Absent an Order from the Court granting a request by either or both parties
for oral argument, the Court will rule on such motions without hearing argument.

I. Defendant Profile Forms

1, The parties are still meeting and conferring over the need for and possible

format of a Defense Profile Form (“DPF”).

IT IS SO ORDERED.

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DATE a D)A. SARGUS, JR.
NITED STATES DISTRICT JUDGE

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KIMBERLY¥.A. JOLSON
UNITED STATES MAGISTRATE JUDGE
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

IN RE: DAVOL, INC/C.R. BARD, INC., Raa.

POLYPROPYLENE HERNIA MESH Case No, 2:18-md-2846

PRODUCTS LIABILITY LITIGATION ue JUDGE EDMUND A. SARGUS, JR.
Magistrate Judge Kimberly A. Jolson

This document relates to: _. .
PLAINTIFF NAME Civil Action No.

PLAINTIFF PROFILE FORM

In completing this Plaintiff Profile Form, you must provide information that is true and correct to
the best of your knowledge. The Plaintiff Profile Form shall be completed in accordance with the
requirements and guidelines set forth in the applicable Case Management Order. As used in this
Plaintiff Profile Form, “Davol/C.R. Bard Hernia Mesh Device” refers to the medical device or
devices identified in paragraph 7 of your Short Form Complaint.

 

I, CASE INFORMATION
Caption: Docket No.:

Primary Attorney Contact (name, address, phone, and email):

 

 

I. PLAINTIFF INFORMATION

Name of Individual Implanted with Davol/C.R. Bard Hernia Mesh Device:

 

Gender of Individual Implanted with Davol/C.R. Bard Hernia Mesh Device:
CL} Male O Female

Date of birth: Last 4 Digits of Social Security No.:

Address:

 

 
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Loss of Consortium Claim? UO Yes O No

If yes, name of spouse:

 

Name of Estate Representative if Individual Implanted with Davol/C.R. Bard Hernia Mesh
Device is Deceased:

 

 

UI. DAVOL/C.R. BARD HERNIA MESH DEVICE INFORMATION

Date of implant:
Reason Davol/C.R. Bard Hernia Mesh Device was Implanted:

 

 

 

Davol/C.R. BardHernia Mesh Device:

 

Lot Number:

 

Implanting Surgeon:

 

 

Hospital:

 

Date of implant:
Reason Davol/C.R. Bard Hernia Mesh Device was Implanted:

 

 

 

Davol/C.R. Bard Hernia Mesh Device:

 

Lot Number:

 

 

Implanting Surgeon:
Hospital:
For each Davol/C.R. Bard Hernia Mesh Device, attach the implant
operative report and any medical evidence of product identification
(product ID sticker); if available.

 

 

IV. DAVOL/C.R. BARD HERNIA MESH DEVICE
REMOVAL/REVISION SURGERY INFORMATION

Date of surgery:

 

Description of surgery:

 

Explanting surgeon:

 
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Medical Facility:

 

 

Date of surgery:
Description of surgery:
Explanting surgeon:
Medical Facility:

 

 

 

 

For each removat/revision, attach the operative report, any pathology
report, and any medical evidence identifying the device
removed/revised; if available.

*** Attach additional pages as needed to identify other responsive implant or removal/revision

procedures.

 

- V. OUTCOME ATTRIBUTED TO DEVICE

A. Plaintiff asserts the following injuries as a result of the Davol/C.R. Bard Hernia
Mesh Device(s):

MOOROdoodng

Abscess(es)

Adhesions

Bowel/intestinal obstruction(s)
Bowel/intestinal perforation(s)
Bowel/intestinal removal(s)
Death

Recurrence

Fistulae

Infection(s)

HUOOROdoOoang

Loss of testicle(s)

Mesh migration

Mesh shrinkage

Nerve damage

Other organ perforation(s)
Pain & Suffering

Ring break

Seroma(s)

Other (describe below)

 

 

 

 
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Please describe any additional information regarding Plaintiff's physical injury(ies)
that Plaintiff believes were caused as result of the Davol/C.R. Bard Hernia Mesh
Device(s):

 

 

 

 

 

 

 

 

B. Please list all doctors or other healthcare providers Plaintiff has seen for treatment of
any of the alleged injuries listed above.

 

Provider Name, Condition Treated Approximate Dates of
Address, and Specialty Treatment

 

 

 

 

 

 

 

 

 

 

 

 

 

*** Attach additional pages as needed to describe injuries or identify other responsive health care
providers.
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VI. MEDICAL HISTORY

A. Prior to the first Davol/C.R. Bard Hernia Mesh Device implant, has Plaintiff ever

 

 

had:
Diabetes: [_] Yes [_] No [_] Unknown/Unsure
Adhesions or Adhesive Disease: |} Yes £] No [_] Unknown/Unsure
Hernia and/or Prior Hernia Repair: [ ] Yes [_] No[_] Unknown/Unsure
Irritable Bowel Syndrome: []} Yes [_] No [_] Unknown/Unsure
Lupus: [_] Yes [_] No [_] Unknown/Unsure
Auto Immune Disorder: [] Yes [_] No |_|] Unknown/Unsure
Anemia or other blood disorder: [_] Yes [_] No [_] Unknown/Unsure
Respiratory disease (i.e. Emphysema and/or COPD): [_] Yes [_] No [_] Unknown/Unsure
Any disease of the gut, intestines, or bowels: [_] Yes [_] No[_] Unknown/Unsure
Any abdominal surgery(ies): [ ] Yes [_] No [_] Unknown/Unsure

 

With regard to cigarettes, Plaintiff is a:
(PLEASE CHECK ONLY ONE)

[_] Non-smoker
[-] Current Smoker (please answer question 1 below)

1. How many packs a day does Plaintiff smoke?

[_] Former Smoker (please answer question 2 below)

 

2. Approximately when did Plaintiff quit?
Vil. OTHER

A. (1) Is Plaintiff claiming damages for lost wages: [_] Yes [_] No

(2) If so, for what time period(s):

 

B. (1) In the past seven years has Plaintiff filed for bankruptcy: [_] Yes [_] No

(2) If so, when?

 
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AUTHORIZATIONS AND MEDICAL RECORDS TO BE PRODUCED

Provide duly executed medical records authorization forms attached as Ex. A for all healthcare
providers identified in Section V.B. These authorization forms will authorize the records vendor
selected by the parties to obtain those records identified in the authorizations from the providers
identified within this Plaintiff Profile Form.

Provide a copy of all medical records in your possession, custody, or control (including any
medical records in your attorney’s possession) related to the claims and/or alleged injuries in this

case,

Signed this _—_—sdDay of 2018

 

Plaintiffs Counsel of Record
Firm Name

Firm Address

Firm Address 2

Phone

Email
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LIMITED AUT ZATION TO DISCLOSE HE RMATI
(Pursuant to the Health Insurance Portability and Accountability Act “HIPAA” of 4/14/03)
TO:
Patient Name: SSN: DOB:
I, , hereby authorize you to release and furnish to:

 

Reed Smith LLP and/or Litigation Management, Inc., 6000 Parkland Boulevard, Mayfield Heights OH 44124, copies
of the following information:

e Allrecords, including inpatient, outpatient, and emergency room treatment, all clinical charts, reports,
documents, correspondence, x-rays, test results, statements, questionnaires/histories, office and doctor's
handwritten notes, and records created or received by you or other physicians or staff, as well as all autopsy,
laboratory, histology, cytology, pathology, radiology, CT Scan, MRI, echocardiogram and cardiac
catheterization reports.

e Allradiology films, mammograms, myelograms, CT scans, photographs, bone scans,
pathology/cytology/histology/autopsy/immunohistochemistry specimens, cardiac catheterization
videos/CDs/films/reels, and echocardiogram videos.

e All pharmacy/prescription records including NDC numbers and drug information handouts/monographs.

e All billing records including all statements, itemized bills, and insurance records.

**Notwithstanding the broad scope of the above disclosure requests, the undersigned does not authorize the

disclosure of notes or records pertaining to psychiatric, psychological, or mental heaith treatment or

diagnosis as such terms are defined by HIPAA, 45 CFR §164.501.

1. Tomy medical provider: this authorization is being forwarded by, or on behalf of, attorneys for the
defendants. This document does not authorize you to discuss with any individual any
aspect of the above-named person's medical history, care, treatment, diagnosis, prognosis, information
revealed by or in the medical records, or any other matter bearing on his or her medical or physical
condition. This document does not limit your ability to testify at deposition or trial about any aspect of the
above-named person's medical history, care, treatment, diagnosis, prognosis, information revealed by or in
the medical records, or any other matter bearing on his or her medical or physical condition,

2. Iunderstand that the information in my health record may inciude information relating to sexually transmitted
disease, acquired immunodeficiency syndrome (AIDS), or human immunodeficiency virus (HIV). It may also
include information about behavioral or mental health services, and treatment for alcohol and drug abuse.

3. Iunderstand that I have the right to revoke this authorization at any time. I understand that if I revoke this
authorization I must do so in writing and present my written revocation to the health information management
department. I understand the revocation will not apply to information that has already been released in response to
this authorization. I understand the revocation will not apply to my insurance company when the law provides my
insurer with the right to contest a claim under my policy. Unless otherwise revoked, this authorization will expire

two years from the date of execution.

4. [understand that authorizing the disclosure of this health information is voluntary. I can refuse to sign this
authorization. I need not sign this form in order to assure treatment. I understand I may inspect or copy the
information to be used or disclosed as provided in CFR 164.524. I understand that any disclosure of information
carries with it the potential for an unauthorized re-disclosure and the information may not be protected by federal
confidentiality rules. If I have questions about disclosure of my health information, I can contact the releaser

indicate above,

5. Anotarized signature is not required. CFR 164.508. A copy of this authorization may be used in place of an
original.

Print Name: (plaintiff/representative)

 

Signature: Date:

 
